     Case: 1:19-cv-06953 Document #: 15 Filed: 10/29/19 Page 1 of 1 PageID #:105

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Lee I. Wigod
                           Plaintiff,
v.                                                Case No.: 1:19−cv−06953
                                                  Honorable Martha M. Pacold
Lori Wigod
                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 29, 2019:


        MINUTE entry before the Honorable M. David Weisman: This case has been
referred to Magistrate Judge Weisman for the purposes of holding proceedings related to:
expedited hearing on Lori Wigod's motion to quash subpoena [1] and motion to stay
deposition and production pending ruling on motion to quash [5], discovery supervision,
and settlement. Motion hearing set for 10/31/19 at 9:30 a.m. Mailed notice (ao,)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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